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                    Exhibit A
  Deposition of Dawn Dorland Perry – Day 1 – September 3, 2022

Page 115 (line 24), Page 116 (lines 1 to 24) and page 117 (Lines 1-7)
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1 that you, and perhaps your husband, could learn

2 more about the recipient of Debbie Striks' kidney

3 and perhaps even meet the recipient someday,

4 isn't that correct?

5       MS. ELOVECKY: Objection.

6     A. I'm so sorry. How did you characterize

7 it, it's one of my purposes?

8     Q. Yeah. What -- let's go more basic. Why

9 did you write the letter?

10       MS. ELOVECKY: Objection. Asked and

11 answered.

12       MR. EPSTEIN: I'm not getting an answer,

13 Suzanne.

14       MS. ELOVECKY: She answered that question

15 when you asked it ten minutes ago.

16     Q. Why did you write the letter?

17       MS. ELOVECKY: That has been asked and

18 she answered the question at length. You are now

19 trying to put an answer in her mouth which she's

20 not cooperating with because that's not her

21 answer. She answered it already.

22       MR. EPSTEIN: I understand your

23 objection.

24     Q. Dawn, why did you send -- why did you
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1 write the letter to "Dear Recipient"?

2        MS. ELOVECKY: Objection.

3     A. I already covered this, but it's because

4 I was given the opportunity. But I can tell you,

5 Attorney Epstein, that I thought the recipient

6 deserved some information about me and that

7 includes my willingness to be open to a meeting,

8 but I would not characterize that as one of my

9 purposes. I disagree with that.

10       I imagined that someone who is in this

11 situation which I heard other people describe as

12 winning the lottery, I wouldn't go that far, but

13 someone who, in her case, had failing health, had

14 for all I know not even asked anyone if they

15 would be willing to help her by making their

16 organ available to her, and was waiting

17 indeterminately on the wait list for her to then

18 be contacted out-of-the-blue, is the way to put

19 it, and said not only do you have, you know, a

20 short timeline from now, not only do you have a

21 kidney, but you have a living kidney that's a

22 very good match, because one does tend to survive

23 longer -- the kidney itself survives longer when

24 it's a living donor kidney. It could be as long
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1 as five extra years of use of that living donor

2 kidney as opposed to a diseased donor kidney.

3       And I just thought putting myself in the

4 shoes of someone who had that opportunity

5 suddenly, they might want to know a little bit

6 about what brought it about. That was my

7 purpose.

8     Q. So in a sense, you wanted to complete the

9 chain from you to the Rabbi to Debbie to this

10 unknown recipient somewhere perhaps in Portland,

11 Oregon?

12       MS. ELOVECKY: Objection.

13       You can answer.

14     A. I didn't hear a question actually.

15     Q. I'm sorry?

16     A. I didn't hear a question. Would you be

17 able to restate that? I missed it.

18     Q. So what you're trying to do is complete a

19 chain from you to the Rabbi, from Debbie Striks

20 to this unknown recipient somewhere in the

21 Portland, Oregon area by writing your "Dear

22 Recipient" letter?

23     A. I don't think my letter completed the

24 chain. I think that Debbie's transplant
